105 F.3d 649
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Zarina HAFIZUDDIN, Defendant-Appellant.
    No. 96-4773.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 19, 1996.Decided Jan. 3, 1997.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Benson E. Legg, District Judge.  (CR-95-9-L, CA-96-1423-L)
      Gary Wilmer Christopher, FEDERAL PUBLIC DEFENDER'S OFFICE, Baltimore, Maryland, for Appellant.
      John Francis Purcell, Jr., OFFICE OF THE UNITED STATES ATTORNEY, Baltimore, Maryland, for Appellee.
      D.Md.
      APPEAL DISMISSED.
      Before ERVIN and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant filed an untimely notice of appeal.  We dismiss for lack of jurisdiction.  The time periods for filing notices of appeal are governed by Fed.  R.App. P. 4.  These periods are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  In a criminal case, a defendant has ten days within which to file in the district court notices of appeal from judgments or final orders.  Fed. R.App. P. 4(b).  The district court may, upon a showing of excusable neglect, extend by thirty days the time for filing a notice of appeal.  See United States v. Reyes, 759 F.2d 351, 353 (4th Cir.), cert. denied, 474 U.S. 857 (1985).
    
    
      2
      The district court entered its order on May 26, 1995;  Appellant's notice of appeal was filed on Sept. 17, 1996.  Appellant's failure to note an appeal within the ten-day appeal period and the thirty-day permissible extension period leaves this court without jurisdiction to consider the merits of Appellant's appeal.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    